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                            UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF CALIFORNIA


 IN RE: SOCIAL MEDIA ADOLESCENT                       MDL No. 3047
 ADDICTION/PERSONAL INJURY
 PRODUCTS LIABILITY LITIGATION                        Case Nos.: 4:22-md-03047-YGR-PHK

                                                      JOINT LETTER BRIEF ON
                                                      SCHOOL DISTRICT PLAINTIFFS’
 This Filing Relates to:
                                                      SEARCH TERMS
 Baltimore County Board of Education v. Meta,
 et al., Case No. 24-cv-01561                         Judge: Hon. Yvonne Gonzalez Rogers
 Board of Education Harford County v. Meta,           Magistrate Judge: Hon. Peter H. Kang
 et al., Case No. 23-cv-03065
 Board of Education of Jordan School District
 v. Meta, et al., Case No. 24-cv-01377
 Breathitt County Board of Education v. Meta,
 et al., Case No. 23-cv-01804
 Charleston County School District v. Meta, et
 al., Case No. 23-cv-04659
 Dekalb County School District v. Meta, et al.,
 Case No. 23-cv-05733
 Irvington Public Schools v. Meta, et al.,
 Case No. 23-cv-01467
 Saint Charles Parish Public Schools v. Meta,
 et al., Case No. 24-cv-01098
 School District of the Chathams v. Meta, et al.,
 Case No. 23-cv-01466
 Spartanburg 6 School District v. Meta, et al.,
 Case No. 24-cv-00106
 The School Board of Hillsborough County,
 Florida v. Meta, et al., Case No. 24-cv-01573
 Tucson Unified School District v. Meta, et al.,
 Case No. 24-cv-01382




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Dear Judge Kang:

        Pursuant to the Court’s Standing Order for Discovery in Civil Cases, Discovery
Management Order No. 10 (Dkt. 1157), as extended by stipulation and order entered on September
19, 2024 (Dkt. 1163), and the October 2, 2024 Joint Status Report (ECF 1192), the School District
Plaintiffs and Defendants respectfully submit this letter brief regarding a dispute about the search
terms to be used the School District Plaintiffs in processing documents for review and production.

        Pursuant to the Discovery Standing Order and Civil Local Rule 37-1, the Parties attest that
they met and conferred by video conference, email, and correspondence on numerous occasions
before filing this brief. On October 2, 2024, lead trial counsel for the Parties involved in the dispute
attended the final conferral. Because all lead counsel are not located in the geographic region of
the Northern District of California or otherwise located within 100 miles of each other, they met
via videoconference. Lead trial counsel have concluded that no agreement or further negotiated
resolution can be reached.

            Attached are the following exhibits:

            Exhibit A: Plaintiffs’ Proposed Search Terms;
            Exhibit B: Disputed Terms;
            Exhibit C: Sampling Terms;
            Exhibit D: Document Count Charts for the Parties’ Search Term Proposals;
            Exhibit E: Hit Reports for Defendants’ and Plaintiffs’ Last Proposed Search Terms;
            Exhibit F: Responsiveness sampling for the “Five Terms”.

       Given that the next Discovery Management Conference is less than two weeks prior to the
substantial completion deadline, the Parties respectfully request an in-person interim hearing on
this matter prior to the next Discovery Management Conference with a preferred date of October
16, 2024, or at the Court’s convenience.


Dated: October 10, 2024                            Respectfully submitted,

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Defendants’ Position: The parties are at an impasse with respect to approximately 80 search
terms. At the core of the dispute are five terms that seek highly relevant information: “social
media,” Facebook, YouTube, “mental health” and “Covid* w/10 quarantine” (the “Five
Terms”). Plaintiffs’ own responsiveness sampling shows that the Five Terms yield a significant
number of responsive documents. (For the remaining disputed terms, Plaintiffs have not conducted
sampling.) Given the importance of the disputed terms and the nature of Plaintiffs’ claims—which
seek billions of dollars in purported damages—Defendants’ proposed terms are reasonable and
proportional. This is especially true because Plaintiffs are using TAR 2.0 after applying search
terms to cull their document review set—which Plaintiffs themselves already argued in this case
reduces the prospect of reviewing non-responsive documents. If Plaintiffs are concerned about
their ability to complete document review on schedule, then the solution is for them to seek an
extension, not to stymie Defendants’ ability to defend against their sweeping claims.

Status of Search Term Negotiations and Remaining Disputes. Since the September 12 DMC,
Defendants have dropped or narrowed hundreds of proposed terms,1 further reducing the total
universe of documents that hit on those terms by nearly 2 million documents. After rebuffing for
weeks Defendants’ requests for responsiveness sampling, Plaintiffs finally provided Defendants
with responsiveness sampling results for the Five Terms on October 1—but for only one school
district. On average, the unique responsiveness rate for the Five Terms was 14.3%—meaning that
approximately one in seven documents in the sample set hitting on these terms is responsive and
would not otherwise be captured by any other agreed-to terms. Nevertheless, Plaintiffs have
asserted without elaboration that the responsiveness rates “do not support the use of these terms”
despite the fact that Plaintiffs are using TAR 2.0. For several reasons, they are wrong.

The Five Terms Seek Relevant Information and Are Proportional. First, the Five Terms are
plainly designed to capture highly relevant information, and without them large volumes of known
relevant documents would be excluded from discovery. For example, Plaintiffs’ responsiveness
sampling revealed that one in five documents in the sample set hitting on the term “social
media”—which lies at the very core of these cases—are both responsive and not otherwise
captured by their proposed search terms.2 Plaintiffs already agreed to run the names of most
Defendants’ platforms (limited to documents sent from school district domains); there is no
compelling reason to treat “Facebook” and “YouTube” differently.

Second, when the shoe was on the other foot, Plaintiffs insisted that Defendants use terms that
resulted in a demonstrably lower responsiveness rate than the Five Terms return. For example,
when Meta conducted responsiveness sampling on hundreds of terms proposed by Plaintiffs, Meta
determined that those terms (1) nearly tripled the total number of hits yet (2) returned documents
with a responsiveness rate of only 3.8%. See ECF No. 929. Nevertheless, Plaintiffs insisted, and
Meta ultimately agreed, to add many of those terms, including the term “mental health”—one of


1
  Plaintiffs’ assertion that they have agreed to “thousands” of terms is misleading: At Plaintiffs’
request, Defendants manually deconstructed dozens of search strings to simplify the process for
Plaintiffs’ vendors. But it is not accurate to claim those deconstructed terms are true “separate”
terms, and the deconstruction process had no impact on the volume of documents.
2
  Plaintiffs cite two unreported decisions addressing responsiveness rates; they are inapposite
because neither involved multi-billion dollar claims or use of TAR 2.0.

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the Five Terms Plaintiffs are refusing to run on their documents, despite the fact that it has a nearly
10% responsiveness rate across Plaintiffs’ documents.3

Third, Plaintiffs will utilize technology-assisted review (TAR 2.0) after the application of search
terms—meaning they will likely never have to review all documents identified by the terms, let
alone “millions” of non-responsive documents. See The Sedona Conference, TAR Case Law
Primer, Second Edition, 24 Sedona Conf. J. 1, 17 (2023) (with TAR 2.0, documents that are more
likely to be responsive are prioritized while documents below the designated responsiveness
threshold are not elevated for human review or produced). Notably, Plaintiffs successfully pushed
Meta to include a large number of broad search terms based on the fact that Meta was also using
TAR 2.0. As Plaintiffs’ counsel explained at the time, “it is critical not to use narrow search strings
with limiters that would exclude relevant documents” when using TAR combined with search
terms. 5/13/24 Ltr. from A. Faes to A. Simonsen at 3 (TAR 2.0 “has been shown to … identify[]
a greater number of relevant documents more quickly and with less human effort” so parties can
“meet tight production timelines [and] leverage a limited staff of human reviewers”). Where, as
here, the difference between the percentage of documents that hit on Defendants’ terms as
compared to Plaintiffs’ terms is less than 10% for the majority of school districts4 and sampling
indicates that Defendants’ terms are capturing a meaningful number of responsive documents,
Plaintiffs’ utilization of TAR 2.0 to further cull the review set fundamentally undermines their
complaints about an alleged burden from reviewing non-responsive documents.5

Finally, any assertion that Plaintiffs’ status as school districts should excuse reasonable and
proportional discovery—or provides a reason why Defendants should bear the costs of Plaintiffs
meeting their discovery obligations—is unpersuasive and unwarranted.6 Plaintiffs include large
institutions that employ thousands of individuals and have annual budgets exceeding hundreds of
millions of dollars,7 and most importantly, these districts elected to pursue sweeping litigation
against Defendants, seeking billions of dollars in compensatory damages, plus an undetermined
amount in “abatement.” Plaintiffs’ counsel represented to the Court that they were prepared to
invest resources necessary to litigate these cases. See, e.g., ECF Nos. 8 & 11. As such, their claims
of burden ring hollow. If Plaintiffs believe there is insufficient time or resources to complete their
review by the substantial completion deadline, the solution is not to curtail Defendants’ ability to
obtain clearly relevant and proportional discovery. Instead, Plaintiffs should take the Court up on

3
  Notably, Plaintiffs have not conducted any null set sampling to support their assertion that their
proposed terms are adequately capturing relevant documents. While Plaintiffs observe that parties
are best situated to craft reasonable search parameters, it is equally established that “[t]he
application of proportionality should be based on information rather than speculation.” See Sedona
Conference on Principles of Proportionality, Principle 4.
4
  For example, Defendants’ proposed terms hit on 16.6% percent of documents collected by
Charleston and Plaintiffs’ terms hit on 8.5% of these documents.
5
  Plaintiffs claim their FERPA obligations will impact the pace of their review. Yet, the parties’
proposed modifications to the protective order, ECF 1202, relieve Plaintiffs from having to redact
documents for student identifiable information, resolving this very issue.
6
  Plaintiffs cite two cases concerning cost-sharing; these cases are inapposite because they involve
costs-sharing requests by defendants or nonparties.
7
  The school districts with the highest hit counts for both parties’ proposals are also three of the
largest bellwether school districts and have budgets close to or over a billion dollars.

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its prior offer to place the school district cases on a separate schedule, including extending their
substantial completion and related deadlines, to accommodate their review.

The Remaining Terms Seek Relevant Information and Are Proportional. The parties are also
at impasse regarding additional terms, such as “shooting* w/10 school*”. For many of the same
reasons, these terms are also reasonable, proportional, and important to Defendants’ ability to
defend against Plaintiffs’ claims. And any assertion of burden is undercut by the fact that many
of these terms do not result in substantial additional unique hits (i.e., the number of documents that
hit on a given term and only that term)—for example, “threat w/5 school” returns on average
~1,600 unique hits per bellwether school district. Furthermore, Plaintiffs’ refusal to run these
terms is based on volume alone rather than any cogent principle: for example, they have agreed to
run “crisis w/5” of various terms, including “youth” and “teen,” yet inexplicably refuse to run
“crisis w/5 student.” Plaintiffs should be ordered to run the proposed terms set out in Defendants’
September 26 counter-proposal without further limiters.8 See Ex. B, Column A.

Plaintiffs’ Position: The School District Plaintiffs’ proposed search terms are a reasonable and
proportional means to cull documents that are responsive to Defendants’ requests for production.
Plaintiffs have agreed to run over 1230 search terms and strings that result in a universe of over
3.7 million documents. See Ex. A (Plaintiffs’ Terms). Defendants’ insistence that Plaintiffs run
even more and broader terms is not proportional, nor even feasible given the substantial
completion deadline. See Ex. B (Disputed Terms, including Plaintiffs’ proposed modifications or
reasons for rejection). It would unduly burden Plaintiffs with reviewing an excessive number of
unresponsive documents and delay the case schedule.

Plaintiffs have provided a reasonable compromise. It is generally accepted that “[r]esponding
parties are best situated to evaluate the procedures, methodologies, and technologies appropriate
for preserving and producing their own [ESI].” Weinstein v. Katapult Grp., Inc., 2022 WL
4548798, at *2 (N.D. Cal. Sept. 29, 2022) (quoting The Sedona Principles, Third Edition, 19
SEDONA CONF. J. 1, 11, 123 (Principle 6)). Neither a requesting party nor a court should
prescribe in detail the steps that a responding party must take to meet its discovery obligations.
See, e.g., Edwards v. McDermott Int’l, Inc., 2021 WL 5121853, at *3 (S.D. Tex. Nov. 4, 2021)
(“district court judges should not micro-manage the parties’ internal review procedures”).
Plaintiffs have gone above and beyond what is required under the ESI protocol and worked
cooperatively with Defendants in negotiating search terms, including providing dozens of hit
reports and conducting statistically significant responsiveness sampling.

In an effort to reach compromise, Plaintiffs conducted responsiveness sampling on 6 terms with
extraordinarily high hit counts that Defendants identified as important to them. The
responsiveness sampling yielded results from 0.09% to 22%.9 These rates do not warrant running


8
  Many of Plaintiffs’ proposed limiters would carve out any document that does not include
Defendants’ platform names. See Ex. B, Column B. As Plaintiffs argued in this case, it is
critical not to use narrow limiters when applying TAR 2.0
9
  The terms included: “social media” (20%); “Facebook” (7.22%); “YouTube” (12.78%);
“mental health” (9.71%); covid* w/10 “emergenc* (0.09%); covid* w/10 quarantine (22%).
Defendants agreed to drop “covid* w/10 “emergenc*”. Social media use is ubiquitous in our

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“really broad search terms that end up in ridiculous numbers of unresponsive documents.”
Lawson v. Spirit AeroSystems, Inc., 2019 WL 1877159, at *3 (D. Kan. Apr. 26, 2019) (finding a
reasonable responsiveness rate to be 85%); see also, e.g., Gravitt v. Mentor Worldwide, LLC,
2020 WL 7381479 (N.D. Ill. Dec. 15, 2020) (denying request to compel use of search terms that
yielded a 27% responsiveness rate). Regardless, Plaintiffs proposed modifiers to narrow the
terms to be more precise. See Ex. C. This is in addition to the terms that Plaintiffs have already
proposed or accepted that are intended to capture the same sought after information (e.g.,
documents related to mental health, or Defendants’ alternative causation defenses, such as
COVID). It may be true that by not accepting Defendants’ terms some responsive documents
may be lost “somewhere along the way,” Lawson, 2019 WL 1877159, at *3, but perfection in
ESI is not the standard, Valentine v. Crocs, Inc., 2024 WL 2193321, at *10 (N.D. Cal. May 15,
2024) (Kang, J.) (“Perfection in ESI is not required; rather a producing party must take
reasonable steps to identify and produce relevant documents.”); Alivecor, Inc. v. Apple, Inc.,
2023 WL 2224431, at *2 (N.D. Cal. Feb. 23, 2023) (same). Reasonableness is the standard;
demanding that Plaintiffs run thousands of terms and review millions of nonresponsive
documents so that nothing is left on the cutting room floor is not reasonable.

With respect to the other 74 terms in dispute (see Ex. B), Plaintiffs have either proposed
modifiers that would anchor the terms to this litigation or have rejected the terms because they
have agreed to dozens of other terms designed to capture the documents Defendants are seeking,
including those that go to alternative causation. Defendants’ claim that 1,600 unique hits on
average does not demonstrate burden is inaccurate and misunderstands the hit reports. “Unique
hits is the count of documents in the searchable set returned by only that particular term,” and no
other term.10 This is not the total number of documents that would be generated by that particular
term. The actual number of documents will fall somewhere between the total documents with
hits (including family) and unique hits. “Threat* w/5 school*” has a total of 268,185 documents
with hits (including family) and 19,728 unique hits across the districts (on average per district,
22,649 documents with hits (including family) and 1,644 unique hits), and the total number of
documents to be reviewed lies between the two numbers. In short, although each individual term
may not seem to have an extraordinary number of unique hits, in the aggregate the individual
term can result in thousands of documents to be reviewed, many of which will be
nonresponsive.11 Narrowing these high hit count, low-richness terms is required to minimize
wasteful review.

Concurrent with continuing efforts to reach a reasonable compromise, Plaintiffs have doubled-
down on their efforts to review documents that hit on Plaintiffs’ terms. Plaintiffs will keep the
Court apprised if they need additional time to substantially complete production of documents
past the November 5 deadline.


society and the term returned documents promoting school activities to parents (e.g., kinder-
welcome week), which are marginally relevant at best as Plaintiffs discussed with Defendants.
10
   Relativity, Search Term Reports, https://help.relativity.com/RelativityOne/Content/Relativity
/Search_terms_reports.htm#:~:text=Unique%20hits%20is%20the%20count,and%20only%20that
%20particular%20term. The reason to run deconstructed terms instead of large search strings as
proposed by Defendants is to understand the hit counts for each term, not for vendor ease.
11
   A term with high unique hits and high documents with hits suggest the term is over-inclusive.

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Defendants’ request is not proportional or feasible under the case schedule. Defendants’
continue to demand that Plaintiffs run overly broad terms yielding a review volume that is not
proportional to the needs of the case and is not possible with less than 30 days before the
November 5 deadline. Specifically, if the Court orders Plaintiffs to use Defendants’ proposed
terms, Plaintiffs would be required to review over 6.4 million documents as shown in the chart in
Exhibit D, which reflects the document counts taken from the hit reports (Ex. E).

Plaintiffs estimate that this would consume over 128,000 attorney hours for first-level review
alone based on the assumption that each attorney reviews at least 400 documents a day and is
working 40 hours a week,12 amounting to a highly burdensome and costly review that is not
warranted given Defendants’ overbroad terms. It appears that Defendants are determined to seek
terms that would necessitate delaying the schedule, but this burden is true whether the documents
are produced by November 5 or at some later date.

Plaintiffs will employ TAR 2.0 to reduce review of irrelevant documents, but that does not
warrant use of poorly crafted, low-richness terms in the first instance, and will not render
Defendants’ proposal proportional. Meta itself previously explained why use of broad or
imprecise search terms is not warranted even with the employ of TAR 2.0. See ECF 929 (Meta
Letter Brief re Search Terms). Specifically, TAR 2.0 does not negate the need for manual
review, and broad terms requiring extensive additional review have no benefit when these terms
have a low responsiveness rate. Even if TAR 2.0 cuts the review volume in half, a review of this
magnitude would still not be proportional or feasible under the current case schedule. In short,
the burden of Defendants’ search terms is not outweighed by the benefit.

The proper path forward is for Plaintiffs to run the Parties’ agreed-upon search terms to date, and
if Defendants identify deficiencies in the productions, the Parties can meet and confer about
them.13 If the Court orders Plaintiffs to run Defendants’ proposed terms, Plaintiffs request an
extension of time for substantial completion of document production to January 10, 2025.
Plaintiffs also request an order that Defendants bear the cost of the additional review required by
their terms. See Fed. R. Civ. P. 26(c)(1)(B) (allowing the allocation of expenses for discovery).
Cost sharing would be appropriate here to protect Plaintiffs from the undue expense of reviewing
millions of nonresponsive documents. See, e.g., Diesel Power Source v. Crazy Carl's Turbos,
2017 WL 721995, at *3 (D. Utah Feb. 23, 2017) (“Under the proportionality and cost sharing
principles found in the discovery rules, Plaintiff is ORDERED to pay one-half the production
costs for this discovery.”); Couch v. Wan, 2011 WL 2551546, at *5 (E.D. Cal. June 24, 2011)
(ordering the Parties to “share the costs of producing requested electronic data”).


12
   Redactions to documents protected by the Family Educational Rights and Privacy Act
(FERPA) will reduce the number of documents an attorney can review in a day. The pace of
review to date, without making FERPA redactions, is on average 336 documents per day per
attorney.
13
   Plaintiffs will also comply with the validation requirements in the ESI protocol, which does
not require null set review and was not conducted during search term negotiations by any
Defendant but Meta. See ECF 690, at § 11.

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                                        ATTESTATION

         I, Lexi J. Hazam, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1 that the concurrence
to the filing of this document has been obtained from each signatory hereto.

Dated: October 10, 2024                                      /s/Lexi J. Hazam




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